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Attorney for Defendant, SUKHWINDER SINGH




                                UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF CALIFORNIA



                                                               Case No.: 1: 04-CR-05356-AWI
   UNITED STATES OF AMERICA,                                   (Consolidated with 1:06-CR-00004 AWI)
                   Plaintiff,
                                                               ORDER RE: WAIVER OF
         vs.                                                   APPEARANCE
   NIJJAR BROTHERS TRUCKING, INC, et al.,
                                                               Date:        June 2, 2008
                                                               Time;        1:30 p.m.
                   Defendants.                                 Courtroom: 2
                                                               Honorable Anthony W. Ishii


                                               ORDER
         Good cause appearing,
         IT IS HEREBY ORDERED that defendant SUKHWINDER SINGH is hereby excused
from appearing at the Sentencing Hearing scheduled for June 2, 2008, at 1:30 p.m., and that he is
to appear at all future hearings in this matter, as ordered.


IT IS SO ORDERED.


Dated:      June 2, 2008                                /s/ Anthony W. Ishii
0m8i78                                        UNITED STATES DISTRICT JUDGE
